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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: EX PARTE APPLICATION OF                    Case No.: 24-mc-02144-JLB
     HMD GLOBAL OY FOR AN ORDER
12
     UNDER 28 U.S.C. § 1782 TO OBTAIN                  REPORT AND
13   DISCOVERY FOR USE IN FOREIGN                      RECOMMENDATION RE: EX
     PROCEEDINGS.                                      PARTE APPLICATION OF HMD
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                                                       GLOBAL OY FOR AN ORDER
15                                                     UNDER 28 U.S.C. § 1782 TO OBTAIN
                                                       DISCOVERY FOR USE IN
16
                                                       FOREIGN PROCEEDINGS
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                                                       [ECF No. 1]
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20         This Report and Recommendation is submitted to the Honorable Cynthia Bashant,
21   Chief United States District Judge, pursuant to 28 U.S.C. § 636(b)(1) and Local Civil Rule
22   72.1(c) of the United States District Court for the Southern District of California.1
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                  See CPC Pat. Techs. Pty Ltd. v. Apple, Inc., 34 F.4th 801, 808 (9th Cir. 2022)
27   (holding that a ruling on a 28 U.S.C. § 1782 application should be regarded as a dispositive
     matter for purposes of 28 U.S.C. § 636 and Federal Rule of Civil Procedure 72); see also
28   CPC Pat. Techs. Pty Ltd. v. Apple Inc., 119 F.4th 1126, 1130 (9th Cir. 2024).
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 1         Before the Court is an ex parte application filed by HMD Global Oy (“HMD”) for
 2   an order under 28 U.S.C. § 1782 to obtain discovery for use in foreign proceedings. (ECF
 3   No. 1.) HMD seeks an order authorizing a document subpoena to Qualcomm Incorporated
 4   (“Qualcomm”) for the production of evidence relevant to litigation pending in Munich,
 5   Germany. (Id. at 5.) Qualcomm does not oppose the ex parte application. (ECF No. 7.)
 6   For the reasons set forth below, the Court RECOMMENDS that the ex parte application
 7   be GRANTED.
 8   I.    BACKGROUND
 9         This application relates to patent litigation between HMD, a Finnish company, and
10   Huawei Technologies Co., Ltd. (“Huawei”), which is pending before the courts in Munich,
11   Germany. (ECF No. 1 at 5–7.) Huawei sued HMD for alleged patent infringement of
12   certain chipsets used in 4G and 5G mobile devices distributed by HMD. (Id.) The 5G
13   mobile devices distributed by HMD are mostly equipped with Qualcomm chipsets, while
14   the 4G mobile devices are partly equipped with Qualcomm chipsets.               (Id. at 11.)
15   Qualcomm is not a party to the German litigation. (Id. at 6.)
16         Specifically, on November 3, 2022, Huawei filed three patent infringement suits
17   against HMD in the Munich District Court, claiming HMD’s products featuring chipsets
18   adhering to the 4G and 5G standards infringed Huawei’s patents. (Id.) Two of the suits
19   were dismissed for non-infringement and were on appeal before the Munich Higher
20   Regional Court, as of the application filing date. (Id. at 7.) The third suit was pending
21   before the District Court, as of the application filing date. (Id.)
22         Huawei and Qualcomm have entered license agreements with each other, including
23   a “long-term, global patent license agreement that contains a cross license granting rights
24   to certain of Huawei’s patents.” (Id.) HMD requested a copy of the agreements from
25   Huawei relating to the patents at issue in the German proceedings in pre-litigation licensing
26   discussions and, more formally, in discovery in the German proceedings. (Id. at 8.)
27   Huawei refused to produce the agreements and suggested that HMD obtain the requested
28   documents directly from Qualcomm. (Id. at 8–9.) The Munich District Court denied

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 1   HMD’s request for the discovery without comment. (Id.) German law does not provide
 2   any further mechanism to compel discovery from Huawei or from Qualcomm as a third
 3   party. (Id. at 9.)
 4          HMD seeks to serve a subpoena duces tecum on Qualcomm with one document
 5   request: “All agreements between you and Huawei, including the agreement referred to as
 6   ‘2020 QC PLA’ by the Unified Patent Court, December 18, 2024, No. UPC_CFI_9/2023.”
 7   (ECF Nos. 1-2 ¶ 2; 1-3.)
 8   II.    LEGAL STANDARD
 9          Under Title 28 section 1782 of the United States Code, “[t]he district court of the
10   district in which a person resides or is found may order him to give his testimony or
11   statement or to produce a document or other thing for use in a proceeding in a foreign or
12   international tribunal.” 28 U.S.C. § 1782(a). The purpose of section 1782 is to “provide
13   judicial assistance to foreign or international tribunals or to ‘interested person[s]’ in
14   proceedings abroad.” See Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247
15   (2004). The party seeking discovery is not required to establish that the information it
16   seeks would be discoverable under the foreign court’s law or that the United States would
17   permit the discovery at issue in an analogous domestic proceeding. Palantir Techs., Inc.
18   v. Abramowitz, 415 F. Supp. 3d 907, 912 (N.D. Cal. 2019) (citing Intel, 542 U.S. at 247,
19   261–63).
20          A district court may authorize discovery under section 1782(a) where “(1) the person
21   from whom the discovery is sought ‘resides or is found’ in the district of the district court
22   where the application is made; (2) the discovery is ‘for use in a proceeding in a foreign or
23   international tribunal’; and (3) the application is made by a foreign or international tribunal
24   or ‘any interested person.’” Khrapunov v. Prosyankin, 931 F.3d 922, 925 (9th Cir. 2019)
25   (quoting 28 U.S.C. § 1782(a)). Even if the statutory requirements are satisfied, a district
26   court still has the discretion to deny the requested discovery. In re Premises Located at
27   840 140th Ave. NE, Bellevue, Wash., 634 F.3d 557, 563 (9th Cir. 2011); see also Intel, 542
28   U.S. at 264 (“A district court is not required to grant a § 1782(a) discovery application

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 1   simply because it has the authority to do so.”). This discretion is guided by the U.S.
 2   Supreme Court’s articulation in Intel of four non-exclusive factors: (1) whether “the person
 3   from whom discovery is sought is a participant in the foreign proceeding”; (2) the “nature
 4   of the foreign tribunal, the character of the proceedings underway abroad, and the
 5   receptivity of the foreign government or the court” to U.S. federal-court assistance; (3)
 6   “whether the § 1782(a) request conceals an attempt to circumvent foreign proof-gathering
 7   restrictions or other policies”; and (4) whether the request is “unduly intrusive or
 8   burdensome.” Intel, 542 U.S. at 264–65; see also In re Koninklijke Philips N.V., No. 17-
 9   MC-1681-WVG, 2018 WL 620414, at *1 (S.D. Cal. Jan. 30, 2018).
10   III.   DISCUSSION
11          A.    Applicant Satisfies the Statutory Requirements.
12          HMD meets the statutory requirements imposed by section 1782. First, because
13   Qualcomm’s principal place of business is in San Diego, California,2 Qualcomm “resides
14   or is found” in this District. See In re Koninklijke Philips N.V., 2018 WL 620414, at *1
15   (finding entity satisfied the first statutory requirement because it “maintain[ed] its principal
16   place of business” in San Diego, in California’s Southern District).              Second, this
17   application is for discovery that will be used in proceedings pending in German courts, (see
18   ECF No. 1 at 11; Declaration of Andreas von Falck (“von Falck Decl.”), ECF No. 1-1 ¶¶
19   8, 13–20, 27, 30), which qualify as foreign tribunals. See Palantir Techs., Inc., 415 F.
20   Supp. 3d at 912 (granting application for a discovery order pursuant to 28 U.S.C. § 1782
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                   The Court takes judicial notice of the fact that Qualcomm’s principal place of
     business is in San Diego, CA. (See ECF No. 1 at 6 (citing Qualcomm 10-K Annual Filing
24   at 1 (Nov. 6, 2024), available at https://www.sec.gov/Archives/edgar/data/804328/
25   000080432824000075/qcom-20240929.htm).) Courts may take judicial notice of
     “securities offerings and corporate disclosure documents that are publicly available.”
26   Gerritsen v. Warner Bros. Ent. Inc., 112 F. Supp. 3d 1011, 1031 (C.D. Cal. 2015)
27   (collecting cases); see also In re Nokia Techs. Oy, No. 21MC1487 (MSB), 2022 WL
     788702, at *2 (S.D. Cal. Mar. 15, 2022) (finding that Qualcomm’s principal place of
28   business is in San Diego, California).
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 1   related to proceedings in Germany); see also In re Google Inc., No. 14-MC-80333-DMR,
 2   2014 WL 7146994, at *2 (N.D. Cal. Dec. 15, 2014). Third, as a party to the litigation,
 3   (ECF No. 1 at 12), HMD is an “interested party.” See Intel, 542 U.S. at 256 (“No doubt
 4   litigants are included among, and may be the most common example of, the ‘interested
 5   person[s]’ who may invoke § 1782[.]”).
 6         B.     The Discretionary Factors Favor Discovery.
 7         The Court next considers whether the discretionary factors favor permitting HMD’s
 8   requested discovery, and for the following reasons, finds the requested discovery should
 9   be permitted.
10                1.    Foreign Tribunal’s Jurisdictional Reach
11         If the entity from whom discovery is sought is not a party to the foreign litigation,
12   the party may be outside the foreign government’s jurisdiction, and the first factor weighs
13   in favor of discovery. Intel, 542 U.S. at 264 (“[N]onparticipants in the foreign proceeding
14   may be outside the foreign tribunal’s jurisdictional reach; hence, their evidence, available
15   in the United States, may be unobtainable absent § 1782(a) aid.”).
16         HMD represents that Qualcomm is not a party to the Germany litigation. (ECF No.
17   1 at 6; von Falck Decl. ¶ 5.) Qualcomm does not dispute that it is not a party to the
18   litigation. (ECF No. 7.) HMD asked Huawei to disclose its agreements with Qualcomm
19   during license negotiations prior to the pending German proceedings, but Huawei “largely
20   rejected disclosures” and “suggested that HMD obtain any documents in question directly
21   from Qualcomm.” (von Falck Decl. ¶ 21.) HMD also applied for a production order
22   requiring Huawei to disclose all agreements concluded with Qualcomm in the pending
23   German proceedings. (Id. ¶¶ 22–24.) Huawei filed a separate application for a “production
24   order against itself” to voluntarily disclose “cherry picked” agreements between Huawei
25   and parties that are not comparable to HMD and do not distribute comparable products to
26   HMD’s product portfolio. (ECF No. 1 at 8; von Falck Decl. ¶ 25.) The Munich District
27   Court exercised its discretion to grant Huawei’s request against itself but denied HMD’s
28   request without explanation. (ECF No. 1 at 8–9; von Falck Decl. ¶¶ 22–25.) HMD

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 1   contends that German procedural law does not provide for a mechanism to compel further
 2   discovery from Huawei or from Qualcomm as a third party. (ECF No. 1 at 9; von Falck
 3   Decl. ¶ 26.)      During oral arguments in the German proceedings, Huawei’s counsel
 4   suggested that HMD could obtain the agreements between Huawei and Qualcomm by
 5   filing a request under section 1782. (ECF No. 1 at 9.)
 6         The U.S. Supreme Court in Intel recognized the obstacles that civil law systems
 7   place on pretrial discovery, and their reluctance to compel the production of documentary
 8   evidence. See Intel, 542 U.S at 261 n.12. Therefore, it is unlikely that HMD will be able
 9   to obtain the material through the foreign proceedings, especially because Qualcomm is
10   not a party to the foreign proceedings. (ECF No. 1 at 13.) Accordingly, this factor weighs
11   in favor of granting discovery.
12                2.      Receptivity of the Foreign Government
13         Consideration of the second factor requires courts to consider the character of the
14   foreign proceeding and assess whether the foreign court is receptive to the requested
15   discovery. Intel, 542 U.S at 264. “When the parties do not provide evidence showing that
16   a foreign court would reject evidence obtained under Section 1782, courts tend to allow
17   discovery.” In re Koninklijke Philips N.V., 2018 WL 620414, at *2 (citation omitted); see
18   also Palantir Techs., 415 F. Supp. 3d at 915 (“[I]n the absence of authoritative proof that
19   a foreign tribunal would reject evidence obtained with the aid of section 1782, courts tend
20   to err on the side of permitting discovery.”) (citation omitted). Here, HMD argues that
21   “[t]here is no such authoritative proof in this case [that the German courts would reject the
22   subpoenaed evidence]; although the request for the disclosure of agreements from Huawei
23   was not granted, the court did not provide a reason, and German procedural law does not
24   provide any additional discovery mechanisms to obtain these documents.” (ECF No. 1 at
25   14 (citing von Falck Decl. ¶¶ 25–26).) HMD further argues, relying on Mr. von Falck’s
26   experience and declaration, that “if HMD is able to obtain these documents under [section]
27   1782, the German courts, both for the remaining first instance case and for two matters on
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 1   appeal, will consider them.” (Id. (citing von Falck Decl. ¶¶ 8, 30).) Qualcomm does not
 2   provide any evidence to the contrary. (See ECF No. 7.)
 3         This Court finds no evidence that the German courts would be unreceptive to the
 4   evidence obtained through this application, and therefore finds this factor weighs in favor
 5   of granting the application. See Palantir Techs., Inc., 415 F. Supp. 3d at 915 (“While there
 6   is no indication that the German court will be receptive [to] the 1782 discovery, there is no
 7   indication that it would be hostile to such discovery and the German court is in the best
 8   position to make admissibility determinations.”).
 9                3.     Attempt to Circumvent Foreign Restrictions or Policies
10         Third, the court considers whether the applicant “conceals an attempt to circumvent
11   foreign proof-gathering restrictions or other policies of a foreign country or the United
12   States.” Intel, 542 U.S at 265. “Where there is a perception that an applicant has side-
13   stepped less-than-favorable discovery rules by resorting immediately to § 1782 this factor
14   may weigh against an application.” In re Plan. & Dev. of Educ., Inc., No. 21-MC-80242-
15   JCS, 2022 WL 228307, at *4 (N.D. Cal. Jan. 26, 2022) (internal quotation marks and
16   citation omitted). “But absence of evidence of attempted circumvention weighs in favor
17   of an application.” In re Tagami, No. 21-MC-80153-JCS, 2021 WL 5322711, at *3 (N.D.
18   Cal. Nov. 16, 2021); see also In re Koninklijke Philips N.V., 2018 WL 620414, at *2
19   (“Applicant is unaware of any [foreign] rule or policy that prohibits the gathering of the
20   evidence sought. . . . Thus, this factor weighs in favor of granting the Application.”).
21         HMD states that it “does not make this Application in bad faith or in an attempt to
22   circumvent the discovery procedures of the German courts.” (ECF No. 1 at 14 (citing von
23   Falck Decl. ¶¶ 25–30).) Although the German court denied HMD’s application for the
24   requested discovery and granted Huawei’s application against itself for production of
25   different discovery, the German court did not provide an explanation for its denial.
26   Moreover, HMD states that Huawei argued before the German court that HMD could
27   obtain the agreements between Huawei and Qualcomm by filing a request under section
28   1782. (von Falck Decl. ¶ 29.) Qualcomm does not rebut these arguments. (ECF No. 7.)

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 1         Accordingly, the Court finds that HMD makes the instant requests not to circumvent
 2   any restrictions or policies of the foreign jurisdiction, but to obtain discovery that would
 3   be difficult to obtain otherwise due to limited discovery processes. Based on the cited
 4   authority, the Court finds this factor favors discovery.
 5                4.     Unduly Intrusive or Burdensome Requests
 6         Under Intel, “unduly intrusive or burdensome requests may be rejected or trimmed.”
 7   542 U.S. at 265. HMD characterizes its request as seeking “a highly relevant yet discrete
 8   set of documents: intellectual property licenses, covenants not to sue or similar agreements
 9   between Huawei and Qualcomm related to the patents asserted in the German Proceedings
10   or comparable patents.” (ECF No. 1 at 15.) HMD contends that the “universe of
11   responsive documents is thus likely to be small and easily searchable.” (Id.)
12         Qualcomm does not address the substance of the requests but reserves “all its rights
13   to (1) object to and challenge the substance of the subpoena requests, including preserving
14   all objections and protections available under [Federal Rule of Civil Procedure] 45,
15   including, but not limited to, relating to overbreadth, lack of relevance and confidentiality;
16   (2) seek a Protective Order governing the treatment of Qualcomm’s confidential
17   information in the event Qualcomm has any responsive or relevant materials to produce;
18   and (3) move to quash and/or limit the subpoena.” (ECF No. 7 at 2.)
19         Even though Qualcomm does not oppose the instant application, this does not rule
20   out the possibility that the discovery requests will be unduly intrusive or burdensome.
21   However, Qualcomm will have an opportunity to object to these requests if it finds that to
22   be the case. See In re Mireskandari, No. 12-CV-2865-IEG (DHB), 2012 WL 12877390,
23   at *3 (S.D. Cal. Dec. 20, 2012) (noting that the party from whom discovery is sought is
24   “certainly free to object to [the subpoenaed documents] as appropriate”). Accordingly, this
25   factor weighs in favor of granting the application.
26   IV.   CONCLUSION AND RECOMMENDATION
27         For the foregoing reasons, the Court RECOMMENDS that HMD’s ex parte
28   application to obtain discovery for use in foreign proceedings be GRANTED.

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 1         Any party having objections to the Court’s proposed findings and recommendations
 2   shall serve and file specific written objections within 14 days after being served with a
 3   copy of this Report and Recommendation. See Fed. R. Civ. P. 72(b)(2). The objections
 4   should be captioned “Objections to Report and Recommendation.” A party may respond
 5   to the other party’s objections within 14 days after being served with a copy of the
 6   objections. See id.
 7         IT IS SO ORDERED.
 8   Dated: May 21, 2025
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